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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
IN RE:                                                            §
                                                                  §       CASE NO. 16-10799
CUONG NGUYEN                                                      §
     DEBTOR                                                       §



                       TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
referenced in this evidence and notice.
Specialized Loan Servicing, LLC as servicing agent for
Wells Fargo Asset Securities Corporation, Mortgage                        U.S. Bank National Association, as Trustee for Wells
Pass-Through Certificates, Series 2006-AR1, U.S.                          Fargo Asset Securities Corporation, Mortgage Pass-
Bank National Association, as Trustee                                     Through Certificates, Series 2007-AR1
                 Name of Transferee                                                        Name of Transferor


Name and Address where notices to transferee should                       Court Claim # (if known): 5-1
be sent:                                                                  Amount of Claim: $549,723.86
                                                                          Date Claim Filed: 04/18/2016
     Specialized Loan Servicing LLC
     8742 Lucent Blvd, Suite 300
     Highlands Ranch, Colorado 80129
Phone: (800) 315-4757                                                     Phone: 800-274-7025
Last Four Digits of Acct #: xxxxxx8672                                    Last Four Digits of Acct.#: 8609
Name and Address where transferee payments should
be sent (if different from above):
     Specialized Loan Servicing, LLC
     PO Box 636007
     Littleton, Colorado 80163
Phone:
Last Four Digits of Acct #: xxxxxx8672
I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge
and belief.
By: /s/ Natalie E. Lea
    Transferee/Transferee's Agent                             Date:                         04/17/2020

    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




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                          CERTIFICATE OF SERVICE OF TRANSFER OF CLAIM
I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before April 17, 2020 via electronic notice unless otherwise stated:


Debtor             Via U.S. Mail
Cuong Nguyen
2627 E Rhododendron Dr.
Abingdon, MD 21009


Debtors' Attorney
Sonila Isak Wintz
The Isak Law Firm
306 N Main Street
Bel Air, MD 21014

Chapter 13 Trustee
Rebecca A. Herr
185 Admiral Cochrane Dr., Suite 240
Annapolis, Maryland 21401


                                                      Respectfully Submitted,

                                                      /s/ Natalie E. Lea
                                                      Natalie E. Lea




TRANSFER OF CLAIM - CERTIFICATE OF SERVICE                                                                4129-N-6806
                                                                                                       POC_CertOfServ
